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1    E. MARTIN ESTRADA
     United States Attorney
2    MACK E. JENKINS
     Assistant United States Attorney
3    Chief, Criminal Division
     KRISTEN A. WILLIAMS (Cal. Bar No. 263594)
4    Deputy Chief, Major Frauds Section
     DAVID H. CHAO (Cal. Bar No. 273953)
5    Deputy Chief, General Crimes Section
     Assistant United States Attorneys
6          1100 United States Courthouse
           312 North Spring Street
7          Los Angeles, California 90012
           Telephone: (213) 894-0526/4586
8          Facsimile:     (213) 894-6269
           E-mail:        kristen.williams@usdoj.gov
9                         david.chao@usdoj.gov
10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11
                              UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                     No. CR 17-774-SB-1
14
                 Plaintiff,                        GOVERNMENT’S RESPONSE TO
15                                                 PRESENTENCE REPORT AND
                        v.                         SENTENCING POSITION FOR
16                                                 DEFENDANT TAMARA MOTLEY;
     TAMARA YVONNE MOTLEY,                         DECLARATION OF KRISTEN A.
17    aka “Tamara Ogembe,”                         WILLIAMS AND EXHIBITS THERETO
      aka “Tamara Motley-Ogembe,”,
18                                                 Hearing Date:     November 7, 2023
                 Defendant.                        Hearing Time:     8:00 a.m
19                                                 Location:         Courtroom of the Hon.
                                                                     Stanley Blumenfeld, Jr.
20
21
22         Plaintiff United States of America, by and through its counsel of record, the
23   United States Attorney for the Central District of California and Assistant United States
24   Attorneys Kristen A. Williams and David H. Chao, hereby files its response to the
25   presentence report and sentencing position relating to defendant TAMARA YVONNE
26   MOTLEY.
27   ///
28   ///
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1          This response and sentencing position is based upon the attached memorandum of
2    points and authorities, the attached declaration of Kristen A. Williams and exhibits
3    thereto, the files and records in this case, and such further evidence and argument as the
4    Court may permit.
5     Dated: October 24, 2023                  Respectfully submitted,
6                                              E. MARTIN ESTRADA
                                               United States Attorney
7
                                               MACK E. JENKINS
8                                              Assistant United States Attorney
                                               Chief, Criminal Division
9
10
                                               KRISTEN A. WILLIAMS
11                                             DAVID H. CHAO
                                               Assistant United States Attorney
12
                                               Attorneys for Plaintiff
13                                             UNITED STATES OF AMERICA
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          A jury found defendant TAMARA YVONNE MOTLEY guilty of health care
4    fraud, aggravated identity theft, and conspiracy to launder monetary instruments, arising
5    from her scheme to defraud vulnerable government health benefit programs through
6    fraudulent claims for power wheelchairs and related repairs that were medically
7    unnecessary and often never provided. Over the course of nearly a decade, defendant’s
8    companies submitted more than $24 million in fraudulent claims to Medicare and Medi-
9    Cal and were paid more than $13 million. To conceal her role in the fraud, defendant
10   listed her mother and nephew as the owners of the companies in Medicare paperwork,
11   and instructed her staff to cash company checks and return the cash to her.
12         In the Presentence Report (“PSR”) (CR 499), the Probation Officer calculated a
13   total offense level of 36 and a Criminal History Category of II. The Probation Officer
14   recommended a total custodial sentence of 240 months, consisting of 120 months on
15   each of Counts 1 through 20; 216 months on Count 23 (to be served concurrently); and
16   24 months on each of Counts 21 and 22 to be served concurrently with each other and
17   consecutively to the other counts of conviction. The Probation Officer further
18   recommended a three-year term of supervised release, payment of a $2,300 special
19   assessment, and payment of restitution in the amount of $13,107,422.80.
20         The government concurs with the Probation Officer’s Guidelines calculation,
21   which appropriately takes into account the significant losses caused to vulnerable
22   government programs, her role in orchestrating the fraud, and her laundering of its
23   proceeds.
24         And it is clear that defendant’s crimes were serious. She committed a brazen and
25   elaborate fraud spanning nearly a decade. Equally disturbing as what defendant did, was
26   how she did it. As the evidence at trial showed, defendant manipulated those around her
27   to serve her criminal ends. She used relatives and employees to conceal her role in the
28   scheme, and even used her infant’s caretaker to carry out the illegal activities of her
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1    scheme. She took advantage of vulnerable Medicare beneficiaries in far-flung places
2    like Calexico who were elderly and often non-English speaking. She deceived
3    inspectors to preserve her companies’ accreditation with Medicare. Defendant also
4    displayed little respect for the law, continuing the submission of fraudulent claims after
5    Medicare restricted its policy for reimbursing power wheelchairs, and even after first
6    Action and then Kaja were searched by law enforcement. Despite the weight of
7    evidence and the jury’s verdicts, defendant showed no remorse or acceptance of
8    responsibility for her actions.
9          Nonetheless, the sentence imposed here should be no greater than necessary to
10   reflect the goals of sentencing. Here, in light of the factors the Court must consider
11   under 18 U.S.C. § 3553(a) – in particular the need to avoid sentencing disparities and
12   consider defendant’s history, including the relatively minor criminal history that places
13   her in Criminal History Category II – a sentence of 180 months, while below-Guidelines,
14   is substantial enough to balance the aggravating and mitigating factors and effect just
15   punishment, promote respect for the law, and deter similar attacks on Medicare by
16   defendant and others of like mind.
17   II.   STATEMENT OF FACTS
18         Between July 2006 and August 2014, defendant operated Action, a DME
19   company located in Hawthorne, California. Between January 2013 and November 2016,
20   defendant operated Kaja, a durable medical equipment (“DME”) company located in
21   Ventura, California. Action and Kaja shared employees (including co-defendants
22   Cynthia Marquez (office manager) and Juan Murillo (repair technician)), practices, and
23   more than 800 Medicare patients, known as beneficiaries, in common. (PSR ¶ 11.)
24         As the Court knows from trial, defendant and her staff carried out a scheme to
25   defraud Medicare and Medi-Cal. Initially, defendant paid marketers to recruit Medicare
26   beneficiaries to visit certain physicians who would prescribe them medically
27   unnecessary DME, including power wheelchairs and orthotics like back and knee braces.
28   (PSR ¶ 18-21; Tr. Ex. 217, 255, 513, 523.) Defendant and others acting at her direction
                                                  2
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1    would pick up those prescriptions from the referring physicians or pay the marketers for
2    those prescriptions. (PSR ¶ 20; Tr. Ex. 224, 257.) Defendant would cause Action to
3    submit false and fraudulent claims for that medically unnecessary DME. (PSR ¶ 21.)
4    Often the billed products were refused or were not delivered. (Tr. Ex. 215, 217, 221,
5    222, 224, 275.)
6          After Medicare stopped reimbursing providers for lump sum purchase payments
7    for power wheelchairs in early 2011, at the direction of defendant, Action largely
8    stopped billing Medicare for power wheelchairs and instead started billing Medicare for
9    unnecessary power wheelchair repair and replacement services. (PSR ¶ 22; Tr. Ex. 508.)
10   As defendant’s and Marquez’s direction, Action and Kaja staff – including trial witness
11   Jacqueline Quinonez -- would recruit beneficiaries who were previously supplied with
12   power wheelchairs (by Action or other DME companies) to receive unnecessary repair
13   and replacement services, often through cold-calling where the Action and Kaja
14   employees would tell the beneficiaries that Action or Kaja was scheduled to conduct free
15   power wheelchair repairs or maintenance or would promise the beneficiaries other DME
16   the beneficiaries wanted if they agreed to the repair. (PSR ¶ 23; Tr. Ex. 242.) Action
17   and Kaja employees would take the beneficiary information (often conveyed to them in
18   text messages) and fabricate diagnoses and “Verbal Rxs” purportedly supporting the
19   ongoing necessity of the power wheelchairs to be repaired and generate “delivery
20   tickets” with false service dates and serial numbers for replacement parts and with pre-
21   ordained repairs and labor hours before any technician had even looked at the power
22   wheelchairs, among other things. (PSR ¶ 24.) Those employees, such as trial witnesses
23   Violeta Vega and Maria Vargas, acting at defendant and Marquez’s direction, would
24   then provide some of that fabricated information to Action and Kaja’s biller, who would
25   use it to bill Medicare for unnecessary services that typically had not even been
26   performed. (Id.) Defendant required daily updates on that billing, and in particular, on
27   the money generated from Medicare through those billings. (Id.)
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1          While repairs at times were never performed, to the extent any services were
2    provided, technicians working for Action or Kaja would receive those fabricated
3    delivery tickets, with their falsified information and pre-set repairs and labor, and take
4    them to the homes of Medicare beneficiaries, often more than 100 miles from Action and
5    Kaja. (PSR ¶ 25.) As the Court heard from the trial testimonies of Medicare
6    beneficiaries and former repairman Ricardo Hinojosa, the technicians typically stayed 30
7    minutes or less, and, if anything, typically replaced only the power wheelchair battery,
8    even if the replacement was not necessary at the time to make the power wheelchair
9    functional and/or the power wheelchair was no longer medically necessary, both of
10   which Medicare required for reimbursement. (Id.) At those beneficiaries’ homes,
11   technicians would see that the beneficiaries were not using the power wheelchairs to
12   carry out the activities of daily living in their homes, and, indeed, often stored their
13   unused power wheelchairs outside of their homes or in the garage. The technicians
14   would then have the beneficiaries sign documents (typically in English, even when the
15   beneficiaries only spoke Spanish) falsely stating that additional power wheelchair repair
16   and replacement services, including repairs and replacements of joysticks, controllers,
17   motors, tires, and seat lift mechanisms, were performed. (PSR ¶ 26.) Sometimes the
18   beneficiaries’ names and/or signatures were forged. The technicians brought that
19   documentation back to Action and Kaja, where it would be used to create files
20   purportedly supporting the billing for those services, which billing had typically already
21   been submitted. (Id.)
22         Between November 2006 and August 2014, Action submitted approximately
23   $18.25 million in claims to Medicare, primarily for PWCs and orthotics and PWC repair
24   and replacement services, for which Medicare paid Action approximately $10.29
25   million. (PSR ¶ 27; Tr. Ex. 508.) Between approximately July 2013 and November
26   2016, Kaja submitted approximately $6.35 million in claims to Medicare, primarily for
27   PWC repair and replacement services, for which Medicare paid Kaja approximately $2.8
28   million. (Id.; Tr. Ex. 514.)
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1          Defendant committed additional crimes to conceal her role in the scheme. First,
2    defendant used her mother’s name in Action’s Medicare enrollment and billing
3    paperwork as well as compliance and training documents, even though her mother was
4    rarely at Action, had no meaningful ownership or managing role, and lived out of state.
5    Similarly, defendant used her nephew’s name in Kaja’s Medicare paperwork and
6    throughout company documents, even though her nephew was rarely at Kaja, had no
7    meaningful ownership or managing role, and lived out of state. (PSR ¶¶ 28-29; Tr. Ex.
8    55, 58-62, 66, 69, 70, 201, 268, 414, 418.)
9          Second, defendant conspired with Marquez and others to launder the proceeds of
10   the fraud with the intent to disguise the ownership and control of those funds. In
11   particular, defendant would write checks and cause checks to be written on Action and
12   Kaja accounts, which were payable to Marquez, Murillo, and others, often with false
13   memo lines suggesting these were payment for legitimate business expenses, even
14   though, as defendant and her co-conspirators well knew, the checks were intended to be
15   converted to cash that would be returned to defendant. (PSR ¶ 31; e.g., Tr. Ex. 112, 114,
16   129, 130.) Indeed, defendant benefitted handsomely from her scheme, both in the form
17   of abundant cash withdrawals and luxury retail and travel purchases. (PSR ¶¶ 32-34; Tr.
18   Ex. 501, 503, 507, 518, 519, 520, 521.)
19         Finally, while not explicitly addressed in the indictment or trials in this case, the
20   government’s investigation also revealed that, contemporaneous with defendant’s work
21   with Action, defendant was also engaged in similar schemes at three more DME
22   suppliers (AM Medical Distributors, Inc. (“AM Medical”); Trey Medical Distributors,
23   Inc. (“Trey”); and Smitty Medical Supply, Inc. (“Smitty”)) in the names of three more of
24   her relatives and associates. 1 These companies submitted claims for the same kinds of
25
26         1
             Although the government provided evidence of these schemes to the Probation
27   Officer, the PSR does not reference these activities. The government objects to this
     omission and respectfully submits that they are, at a minimum, relevant to the Court’s
28   evaluation of defendant’s history and characteristics and risk of recidivism under the
     Section 3553(a) factors.
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1    DME (power wheelchairs and orthotics) for which Action billed Medicare and involving
2    some of the same complicit referring providers. AM Medical– in the name of
3    defendant’s uncle Ausie Motley (“A. Motley”) but run by defendant – billed Medicare
4    more than $960,000 in 2009, and was paid more than $404,000, on claims for power
5    wheelchairs and orthotics purportedly ordered by doctors such as Drs. Eugene Hubbard,
6    Artis Woodward, and Phillip Sokolsky. (See Exhibit A to the Declaration of Kristen A.
7    Williams (“Williams Decl.”) (interview of A. Motley); Exhibit B to the Williams Decl.
8    (AM Medical Medicare claims information).) A. Motley did not recognize his
9    handwriting on Medicare application forms for AM Medical. (See Exhibit A to the
10   Williams Decl.) Trey – in the name of defendant’s nephew John Motley (“J. Motley”)
11   but run by defendant – billed Medicare more than $903,000 in 2010 and 2011, and was
12   paid more than $450,000, mostly for orthotics, purportedly ordered by Dr. Uche
13   Chukwudi (currently a fugitive in United States v. Chukwudi, et al., CR 12-1170-MWF).
14   (See Exhibit C to the Williams Decl. (interview of J. Motley); Exhibit D to the Williams
15   Decl. (Trey Medicare claims information).) J. Motley opened but never accessed a bank
16   account for Trey and did not know where the patient records were kept. (See Exhibit C
17   to the Williams Decl.) A records request from Medicare contractor SafeGuard Services
18   to Trey was found during the search of Action and bore handwritten notes as to
19   undelivered equipment and marketers who referred the patients. (See Exhibit E to the
20   Williams Decl.) Smitty, purportedly owned by Danielle Smith, billed Medicare more
21   than $417,000 in 2010 and 2011 (but received no payments), mostly for orthotics, most
22   of which were purportedly ordered by Dr. Chukwudi. (Exhibit F to the Williams Decl.
23   (Smitty Articles of Incorporation); Exhibit G to the Williams Decl. (Smitty Medicare
24   claims information). Former Motley employee Dulce Anguiano, who testified at trial,
25   informed agents that she previously worked for Motley at Smitty. (Williams Decl. ¶ 6.)
26   III.   THE PRESENTENCE REPORT AND GUIDELINE CALCULATION
27          In the PSR, the Probation Officer calculated a total offense level of 36 as follows:
28
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1          Base Offense Level:          30        [U.S.S.G. §§ 2S1.1(a)(1), 2B1.1(a)(2),
2                                                 (b)(1)(K), (b)(7)(B)(iii)]
3          Conviction under 1956        +2        [U.S.S.G. § 2S1.1(b)(2)(B)]
4          Aggravated Role              +4        [U.S.S.G. § 3B1.1(a)]
5          TOTAL:                       36
6    (PSR ¶¶ 46-57.) The Probation Officer also found that defendant has three criminal
7    history points, falling within Criminal History Category II. (PSR ¶¶ 64-72.) Before the
8    application of the two mandatory consecutive sentences under Section 1028A, the
9    applicable Guidelines range is 210 to 262 months of imprisonment. (PSR ¶ 125.) As
10   discussed below, the government agrees with the Probation Officer’s Guidelines
11   calculation.
12         A.       Fraud Loss Involving Government Health Care Program
13         The Probation Officer correctly determined that Action and Kaja billed Medicare
14   and Medi-Cal approximately $24,664,373.20. The amount billed to those federal health
15   benefit programs is prima facie evidence of the total intended loss. See U.S.S.G.
16   § 2B1.1, App. Note 3(F)(viii). Pursuant to Section § 2B1.1(b)(1)(K), a 20-level increase
17   for a loss exceeding $9.5 million but not more than $25 million applies. In addition,
18   Section 2B1.1(b)(7) provides for an increase in the offense level where, as here, the
19   defendant was convicted of a federal health care offense involving a government health
20   care program, namely, Medicare and Medi-Cal. Because the loss amount under Section
21   2B1.1(b)(1) exceeded $20 million, a four-level increase under Section 2B1.1(b)(7)(iii)
22   applies. Based on the foregoing, the Probation Officer correctly arrived at a base offense
23   level of 30.
24         B.       Money Laundering Enhancement
25         U.S.S.G. § 2S1.1(b)(2)(B) provides for a two-level increase if the defendant was
26   convicted under 18 U.S.C. § 1956. Here, the two-level increase applies because
27   defendant was convicted under 18 U.S.C. § 1956(h).
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1          C.       Aggravated Role Enhancement
2          The Probation Officer correctly determined that a four-level increase applies to
3    reflect the aggravated role of defendant. Defendant was the de facto owner and operator
4    of both Action and Kaja and organized and led the criminal activity there, which
5    involved five or more others, including co-defendants Cynthia Marquez and Juan
6    Murrillo, as well as complicit doctors like Dr. Eugene Hubbard, Dr. Uche Chukwudi,
7    and physician’s assistant Linda Lewis, and marketers like Maritza Hernandez.
8    Defendant also received the lion’s share of the fruits of the crime, as reflected in her
9    substantial cash withdrawals and travel and luxury retail purchases using the company
10   bank accounts. Thus, a four-level enhancement applies under Section 3B1.1(a).
11   IV.   THE APPROPRIATE SENTENCE UNDER THE GUIDELINES AND
           SECTION 3553(a)
12
13         Based on a total offense level of 36 and a Criminal History Category of II, the
14   applicable Guidelines sentencing range in this case is 210 to 262 months of
15   imprisonment before the application of the mandatory consecutive sentence for
16   aggravated identity theft. While not definitive, the Guidelines range provides the
17   starting point for finding a reasonable sentence and must then be considered with the
18   factors set forth in 18 U.S.C. § 3553(a). See United States v. Cantrell, 433 F.3d 1269,
19   1279 (9th Cir. 2006). “To comply with the requirements of Booker, the district court
20   must have sufficiently considered the Guidelines as well as the other factors listed in
21   § 3553(a). This requirement does not necessitate a specific articulation of each factor
22   separately, but rather a showing that the district court considered the statutorily-
23   designated factors in imposing a sentence.” United States v. Nichols, 464 F.3d 1117,
24   1125 (9th Cir. 2006) (quoting United States v. Knows His Gun, 438 F.3d 913, 918 (9th
25   Cir. 2006)).
26         The Section 3553(a) factors are as follows:
27         1)    The nature and circumstances of the offense and the history and
           characteristics of the defendant;
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1          2) The need for the sentence imposed –
2          (A) To reflect the seriousness of the offense, to promote respect for the
           law, and to provide just punishment for the offense;
3
           (B)    To afford adequate deterrence to criminal conduct;
4
           (C)    To protect the public from further crimes of the defendant; and
5
           (D) To provide the defendant with needed educational or vocational
6          training, medical care, or other correctional treatment in the most effective
           manner;
7
           3) The kinds of sentences available;
8
           4) The kinds of sentence and the sentencing range established for the
9          offense and the defendant as set forth in the Sentencing Guidelines;
10         5) Any pertinent policy statement issued by the Sentencing Commission;
11         6) The need to avoid unwarranted sentence disparities among defendants
           with similar records who have been found guilty of similar conduct; and
12
           7) The need to provide restitution to any victims of the offense.
13
14   18 U.S.C. § 3553(a). The factors set forth in 18 U.S.C. § 3553(a) are satisfied by a 180-
15   month sentence and such a sentence is “sufficient, but not greater than necessary” to
16   comply with the purposes enumerated in 18 U.S.C. § 3553(a)(2), discussed further
17   below. 18 U.S.C. § 3553(a).
18         A.     A 180-Month Sentence Is Reasonable Given the Nature and
                  Circumstances of the Offense and the History and Characteristics of
19                Defendant
20         Defendant engaged in a decade-long scheme to swindle the Medicare and Medi-
21   Cal programs through claims for some of the most expensive DME and DME repairs.
22   When Medicare attempted to crack down on those claims by moving power wheelchair
23   reimbursements from lump-sum to monthly rentals, defendant pivoted, drawing on her
24   rolodex of beneficiaries from Action and other DMEs that she knew had power
25   wheelchairs to use that same information to bill for repeated repairs of those same
26   unnecessary wheelchairs. The Medicare beneficiaries were the pawns in this game,
27   dragged long distances to unfamiliar doctors to obtain orders for DME they did not need
28   or forced to deal with large DME that just appeared at their house and would often end
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1    up stored in a garage or closet. Defendant turned those beneficiaries into money, using
2    their information and their signatures (if not just forged) to provide supposed support for
3    fraudulent claims. Defendant used those proceeds in part to promote her scheme through
4    payments to marketers who would recruit the beneficiaries, and concealed her own
5    involvement and benefit by having others cash checks for her. Her crimes exploited a
6    system that tries to pay first and chase later and exploited elderly Medicare beneficiaries
7    who had little say in the matter.
8          In mitigation, defendant may point to her prior history of abuse and her claims of
9    substance abuse problems. (See PSR ¶¶ 82-87, 95-101.)
10         As to the first, while the government is sympathetic to what appears to have been
11   a series of traumatic experiences, it is not clear that those events have any bearing on
12   defendant’s conduct here. Her past did not keep her from opening up multiple
13   businesses and hiding behind others as she used them to commit fraud for a decade. In
14   fact, former employees and associates like Angelica Morales, Bianca Rico, and others
15   consistently testified as to defendant’s imposing presence that stifled questioning, her
16   focus on the bottom line, and her temper when crossed. Despite her claim now that she
17   suffered from domestic violence, defendant sought to portray herself at trial as a de facto
18   single mom devoted to her Nigerian senator husband, whom she frequently visited
19   abroad. Indeed, it was defendant who sought to discuss her husband and her visits to
20   him at trial in the face of the government’s arguments that such was irrelevant and an
21   improper bid for jury sympathy. (See, e.g., CR 402, 455.)
22         As to the second, the government notes that her bond governing her release for
23   much of the pendency of this case did not include any terms related to the use of drugs or
24   alcohol or drug or alcohol testing (see CR 65), which terms would typically be ordered
25   in instances where those issues were disclosed as present at the outset of the case (and
26   which would have led to more intensive supervision). Thus, though defendant now
27   claims a variety of substance abuse issues and that she was using cough syrup and
28   marijuana during the offense, and thus was “not as sharp” and “forgot everything” (PSR
                                                  10
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1    ¶ 100), these issues were not raised as matters for Pretrial Services to address at the
2    outset of the case and offer a picture quite different from that painted of defendant at trial
3    by witnesses to her crimes. Even if the Court credits defendant’s current claims
4    regarding substance abuse, that factor is ordinarily not a reason for downward departure.
5    U.S.S.G. § 5H1.4.
6          However, while the above factors do not warrant a variance from the applicable
7    guidelines range, defendant’s criminal history (although correctly calculated to place her
8    in Criminal History Category II (PSR ¶¶ 64-72)) does appear to be relatively dated and
9    minor considering the significant bump it causes in the applicable sentencing range.
10   This is not to minimize these prior contacts with law enforcement – they reflect a
11   worrying disrespect for the law and property that supports the below arguments for the
12   need for specific deterrence – but, when viewed in context, appear to play an out-sized
13   role in increasing the sentence called for here.
14         In light of the aggravating and mitigating factors discussed above, a 180-month
15   sentence is a reasonable one.
16         B.     A 180-Month Reflects the Seriousness of the Offense and Affords
                  Adequate Deterrence
17
18         As discussed above and as the Court is aware from the two trials in this matter,
19   defendant’s conduct was serious in terms of its duration, scope, and the losses it caused
20   to particularly vulnerable government programs using the information of particularly
21   vulnerable Medicare beneficiaries. While the losses she caused may not represent the
22   largest this District has seen, they far exceed the nationwide median health care fraud
23   offense loss as of 2022 ($1,297,560) and exceed the losses seen in many seen in DME
24   fraud cases in this District. See FY 2022 Quick Facts, United States Sentencing
25   Commission, https://www.ussc.gov/sites/default/files/pdf/research-and-
26   publications/quick-facts/Health_Care_Fraud_FY22.pdf (last visited Oct. 24, 2023) (“FY
27   2022 Quick Facts”) (facts concerning health care fraud offenses in fiscal year 2022).
28   (See, e.g., United States v. Adeline Ekwebelem, CR 12-1170-MWF, Dkt. 107 ($7.3
                                                  11
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1    million power wheelchair fraud scheme); United States v. Charles Agbu, et al., CR 11-
2    134-GW, Dkt. 1 ($11 million power wheelchair fraud scheme); United States v. Uben
3    Rush, CR 09-679-GHK, Dkt. 1 ($15 million power wheelchair fraud scheme). Because
4    defendant’s conduct was serious, it deserves a serious sentence, like the 15-year sentence
5    recommended here.
6          Moreover, defendant doubled-down on her conduct even after law enforcement
7    searched Action, continuing her scheme over at Kaja, another company where her
8    involvement was concealed from Medicare. That fact, together with her
9    contemporaneous connection with three other DME companies (AM Medical, Smitty,
10   and Trey), demonstrates the need for a significant sentence to deter defendant
11   specifically from engaging in criminal conduct in the future. Nor should the Court be
12   swayed by claims that defendant’s age makes her unlikely to recidivate. The average
13   age of all health care fraud defendants as of 2022 was 49, only a few years younger than
14   defendant is now. See FY 2022 Quick Facts.
15         There is also a great need for general deterrence here. Health care fraud
16   prosecutions have increased since 2018 and news reports reflect considerable health care
17   fraud in this District and nationwide, causing increasingly greater losses to Medicare and
18   other insurers. See FY 2022 Quick Facts; see, e.g., Spencer Kimball, Justice
19   Department Charges 78 People with $2.5 Billion in Health-Care Fraud, CNBC.com
20   (June 28, 2023), https://www.cnbc.com/2023/06/28/doj-charges-78-people-with-
21   2point5-billion-in-health-care-fraud.html; U.S. Department of Justice Office of Public
22   Affairs, Justice Department Charges Dozens for $1.2 Billion in Health Care Fraud (July
23   20, 2022), https://www.justice.gov/opa/pr/justice-department-charges-dozens-12-billion-
24   health-care-fraud. Significant custodial sentences are necessary to deter others who may
25   be inclined to join this crowd.
26         A 180-month sentence serves the need to address defendant’s serious conduct and
27   provide specific and general deterrence.
28
                                                 12
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1          C.     A 180-Month Sentence Does Not Create Unwarranted Sentencing
                  Disparities
2
3          Pursuant to 18 U.S.C. § 3553(a)(6), the Court is required to minimize sentencing
4    disparity among similarly situated defendants. One way of doing so is to correctly
5    calculate the Guidelines range. See United States v. Treadwell, 593 F.3d 990, 1011 (9th
6    Cir. 2010), overruled on other grounds by United States v. Miller, 953 F.3d 1095 (9th
7    Cir. 2020) (“Because the Guidelines range was correctly calculated, the district court
8    was entitled to rely on the Guidelines range in determining that there was no
9    ‘unwarranted disparity’ . . . .”); see also Gall v. United States, 552 U.S. 38, 54, 128 S. Ct.
10   586, 599 (2007) (“[A]voidance of unwarranted disparities was clearly considered by the
11   Sentencing Commission when setting the Sentencing Guidelines ranges. Since the
12   District Judge correctly calculated and carefully reviewed the Guidelines range, he
13   necessarily gave significant weight and consideration to the need to avoid unwarranted
14   disparities.”). Under this authority, the 240-month sentence recommended by the
15   Probation Officer would avoid unwarranted sentencing disparities because it is within
16   the correctly calculated Guidelines range.
17         However, a review of sentences imposed on other similarly situated defendants
18   convicted of health care fraud in this District is more consistent with the government’s
19   recommended 180-month sentence. For example, in United States v. Sandy Nguyen, a
20   pharmacist was convicted at trial and sentenced to 15 years for a health care fraud
21   scheme concerning bogus compounded drug prescriptions that cost Tricare, the United
22   States military’s health care plan, more than $11 million in losses. (See CR 19-195-
23   ODW, Dkt. 388.) In United States v. David Morrow, a cosmetic surgeon was sentenced
24   to 20 years in prison related to medically unnecessary cosmetic procedures billed for
25   more than $44 million. (See CR 15-99-JLS, Dkt. 206.) In United States v. Artak
26   Ovsepian, et al., a medical clinic employee was convicted at trial and sentenced to 15
27   years for a $20 million scheme to defraud Medicare and Medi-Cal related to fraudulently
28   prescribed anti-psychotic medications. (See CR 11-1075-VAP, Dkt. 1021.) The
                                                  13
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1    recommended sentence is also consistent, in particular, with sentences for defendants
2    convicted at trial of fraud involving DME. (See United States v. Uben Rush, CR 09-
3    679-GHK (owner of six DME companies that submitted more than $15 million in
4    fraudulent claims for power wheelchairs, among other DME, convicted at trial and
5    sentenced to 13 years in prison).
6          Although the co-defendants in this case – office manager Cynthia Marquez and
7    repair technician Juan Murillo – received much shorter sentences (time served and
8    probation, respectively), they accepted responsibility for their actions, were convicted of
9    fewer crimes, and had smaller roles receiving much less benefit from the fraud. (See CR
10   313 (Marquez); CR 287 (Murillo).) Thus, they are not similarly situated for the purposes
11   of 3553(a)(6) and their sentences do not necessarily dictate what defendant’s sentence
12   should be. See Treadwell, 593 F.3d at 1013 (district court did not abuse its discretion,
13   including in finding co-defendant’s decision to plead guilty warranted sentencing
14   disparity). Moreover, “Congress’s primary goal in enacting § 3553(a)(6) was to promote
15   national uniformity in sentencing rather than uniformity among co-defendants in the
16   same case,” meaning that the examples of sentences in the similar health care fraud cases
17   discussed above are a more appropriate benchmark and support the government’s
18   requested sentence. United States v. Saeteurn, 504 F.3d 1175, 1181 (9th Cir. 2007).
19         Finally, while the prior sentencing court disagreed with the government and
20   Probation Office’s recommendations for the co-defendants’ sentences, (see CR 204 at 5
21   (government’s position agreeing with the Probation Officer on a 63-month low-end
22   Guidelines sentence for Marquez); CR 193 at 5 (government’s position agreeing with the
23   Probation Officer on a 37-month low-end Guidelines sentence for Murillo)), the
24   sentences imposed for the co-defendants appeared to have been based primarily on the
25   grounds that defendant was the true architect of the fraud and should thus receive by far
26   the greatest sentence for it. The government’s recommendation takes that greater role
27   and benefit into account, while nonetheless having the effect of moderating to some
28   extent the difference between the sentencing outcomes in this particular case.
                                                 14
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1          D.     The Remaining Section 3553(a) Factors Also Support the Requested
                  Sentence
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3          Section 3553 (a)(3) requires the Court to consider the kinds of sentences available.
4    Given the nature of defendant’s offense, any sentence that does not involve some period
5    in custody would not be appropriate here. In addition, defendant’s crime falls within
6    Zone D of the Sentencing Table, and non-custodial sentences are discouraged for such
7    offenses. See U.S.S.G. § 5C1.1(f); U.S.S.G. § 5B1.1 cmt. n.2. Furthermore, the public
8    interest in satisfying the other Section 3553(a) factors of obtaining a sentence that
9    reflects the seriousness of the offense, promotes respect for the law, provides just
10   punishment, affords adequate deterrence, and protects the public from further crimes of
11   defendant outweighs any interest in having defendant avoid time in custody.
12         Sections 3553(a)(4) and (5) require the Court to treat the Guidelines as merely
13   “advisory” but to take them into consideration nonetheless, as the government has done
14   herein and as the Probation Officer did in the PSR.
15         Finally, under 18 U.S.C. § 3553(a)(7), the Court is required to consider the need to
16   provide restitution to the victims of the offense. The government agrees with the USPO
17   that that the Court should order defendant to pay restitution of $13,107,422.80, which
18   represents the actual losses of Medicare and Medi-Cal from defendant’s scheme.
19   V.    CONCLUSION
20         For the foregoing reasons, the government respectfully submits that the
21   Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553(a) support the
22   imposition of a sentence that includes a 180-month term of imprisonment, a three-year
23   period of supervised release and conditions, payment of a $2,300 special assessment, and
24   payment of restitution in the amount of $13,107,422.80.
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1                          DECLARATION OF KRISTEN A. WILLIAMS
2          I, Kristen A. Williams, state and declare as follows:
3          1.        I am an Assistant United States Attorney (“AUSA”) for the Central District
4    of California and am one of the attorneys assigned to the prosecution of United States v.
5    Tamara Yvonne Motley, et al., CR No. 17-00774-FMO. I make this declaration in
6    support of the Government’s Response to the Presentence Report and Sentencing
7    Position re Defendant Tamara Yvonne Motley.
8          2.        Attached hereto as Exhibits A and C are true and correct redacted copies of
9    reports of interview with Ausie Motley regarding AM Medical Distributors, Inc. (“AM
10   Medical”) and John Motley regarding Trey Medical Distributors, Inc. (“Trey”),
11   respectively.
12         3.        Attached hereto as Exhibits B, D, and G, are true and correct excerpts from
13   Medicare claims information obtained during the course of the investigation regarding
14   AM Medical, Trey, and Smitty Medical Supply, Inc. (“Smitty”), respectively.
15         4.        Attached hereto as Exhibit E is a true and correct redacted copy of a
16   document obtained during the search of Action regarding Trey.
17         5.        Attached hereto as Exhibit F is a true and correct copy of an initial filing by
18   Smitty with the California Secretary of State.
19         6.        Based on my review of the report of an August 2013 interview of Dulce
20   Anguiano, I am informed and believed that she told agents she previously worked for
21   defendant Motley at Smitty.
22         I declare under penalty of perjury under the laws of the United States of America
23   that the foregoing is true and correct to the best of my knowledge and belief and that this
24   declaration was executed on October 24, 2023, in Los Angeles, California.
25
26
                                                             _____________________________
27
                                                             KRISTEN A. WILLIAMS
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                                                     16
